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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA

  In re:     Vincent Terry                                  )
  Debtor.                                                   )
                                                            )   Case No.                     -13
                                                            )

                                             CHAPTER 13 PLAN
                                             Original __X__
                                       Amended Plan #_____ (e.g. 1st, 2nd)
                                          **Must be designated**
  1. GENERAL PROVISIONS:

        (a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with
  your attorney. If you oppose any provision of this plan, you must file a timely written objection. This plan
  may be confirmed without further notice or hearing unless a written objection is filed before the deadline
  stated on the separate Notice you received from the Bankruptcy Court. If you have a secured claim, this
  plan may modify your lien if you do not object to the plan.

        (b) PROOFS OF CLAIM: This plan does not allow claims. You must file a proof of claim to
  receive pre-confirmation adequate protection payments and to receive distribution under a confirmed plan.
  The filed proof of claim shall control as to the claim amount for pre-petition arrearages, secured and
  priority tax liabilities, and any payment in full offers unless specifically objected to and determined
  otherwise by the Court. All claims that are secured by a security interest in real estate shall comply with
  the requirements of B.R. 3001(c) without regard to whether the real estate is the debtor’s principal
  residence.

        (c) NOTICES RELATING TO MORTGAGES: All creditors with claims secured by a security
  interest in real estate shall comply with the requirements of B.R. 3002.1 without regard to whether the real
  estate is the debtor’s principal residence. In addition to the requirements of B.R. 3002.1, should there be a
  change in the mortgage servicer while the bankruptcy is pending, the mortgage holder shall file with the
  Bankruptcy Court and serve upon the debtor, debtor’s counsel and the Chapter 13 Trustee a Notice setting
  forth the change and providing the name of the servicer, the payment address, a contact phone number and
  a contact e-mail address.

        (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage
  creditors in Section 7(c) (whose rights are not being modified) or in Section 10 (whose executory
  contracts/unexpired leases are being accepted) may continue to mail customary notices or coupons to the
  debtor or the Trustee notwithstanding the automatic stay.

        (e) ADEQUATE PROTECTION PAYMENTS: In accordance with Local Rule B3015-3, any
  adequate protection payment offers shall be based upon 1% of the proposed allowed secured claim,
  although that presumption may be rebutted. The Chapter 13 Trustee (“Trustee”) shall disburse such
  payments to the secured creditor as soon as practicable after receiving plan payments from the debtor, and
  the allowable secured claim will be reduced accordingly. All adequate protection payments shall be subject
  to the Trustee’s percentage fee as set by the United States Trustee. No adequate protection payments will
  be made by the debtor directly to the creditor.

      (f) EQUAL MONTHLY PAYMENTS: The Trustee may increase the amount of any “Equal
  Monthly Amount” offered to appropriately amortize the claim. The trustee shall be permitted to accelerate
  payments to any class of creditor for efficient administration of the case.

        (g) PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an order
  lifting the stay, no distributions shall be made on any secured claim relating to the subject collateral until
  such time as an amended deficiency claim is filed by such creditor and deemed allowed, or the automatic
  stay is re-imposed by further order of the Court.


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  2. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all or such
  portion of future earnings or other future income or specified property of the debtor as is necessary for the
  execution of this plan.

  3. PLAN TERMS:

        (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay $500.00 per month to the Trustee,
  starting not later than 30 days after the order for relief, for approximately 60 months, for a total amount of
  $30,000.00. Additional payments to Trustee: None.

       (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C.
  §1306(a)(1) or if the Trustee discovers undisclosed property of the estate, then the Trustee may obtain such
  property or its proceeds to increase the total amount to be paid under the plan. No motion to modify the
  plan will be required but the Trustee may file a report to court. However, if the Trustee elects to take less
  than 100% of the property to which the estate is entitled OR less than the amount necessary to pay all
  allowed claims in full, then a motion to compromise and settle will be filed, and appropriate notice given.

        (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments
  owed to secured lenders require additional funds from the Debtor's income, the Debtor and the Trustee may
  agree that the Debtor(s) will increase the payment amount each month or that the time period for making
  payments will be extended, not to exceed 60 months. Creditors will not receive notice of any such
  agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party may
  request in writing, addressed to the Trustee at the address shown on the notice of the meeting of creditors,
  that the Trustee give that party notice of any such agreement. Agreements under this section cannot extend
  the term of the plan more than 6 additional months.

        (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion
  pursuant to 11 U.S.C. §1329. Service of any motion to modify this plan shall be made by the moving party
  as required by FRBP 2002(a)(5) and 3015(g), unless otherwise ordered by the Court.

  4. ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR’S ATTORNEY FEES):
  All administrative claims will be paid in full by the Trustee unless creditor agrees otherwise:
               Creditor                           Type of Priority                    Scheduled Amount
         Kevin S. Kinkade               Attorney Fee - Administrative          $3,301.00

               Trustee                  Trustee Fee – Administrative          Per UST

  5. DOMESTIC SUPPORT OBLIGATIONS: The following Domestic Support Obligations will be paid
  in the manner specified:
        Creditor           Type of Claim    Estimated Arrears           Treatment
  None

  DEBTOR IS REQUIRED TO PAY ANY PAYMENTS FALLING DUE AFTER THE FILING OF
  THE CASE PURSUANT TO A DOMESTIC SUPPORT ORDER DIRECTLY TO THE PAYEE IN
  ORDER FOR THIS PLAN TO BE CONFIRMED AND FOR DEBTOR TO RECEIVE A
  DISCHARGE FROM THE COURT UPON COMPLETION OF PLAN PAYMENTS HEREIN.

  6. SECURED CLAIMS RELATING SOLELY TO THE DEBTOR’S PRINCIPAL RESIDENCE -
  CURING DEFAULTS AND/OR MAINTAINING PAYMENTS (INCLUSIVE OF REAL ESTATE
  TAXES AND HOMEOWNER’S ASSOCIATION ARREARS): If there is a pre-petition arrearage
  claim on a mortgage secured by the debtor’s principal residence, then both the pre-petition arrearage and
  the post-petition mortgage installments shall be made through the Trustee. Initial post-petition payment
  arrears shall be paid with secured creditors. If there are no arrears, the debtor may pay the secured creditor
  directly. Estimated current monthly installment listed below shall be adjusted based on filed claim and/or
  notice.



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        Creditor              Residential        Estimated Arrears       Estimated      Select one for
                               Address                                    Current       mortgages ONLY:
                                                                          Monthly
                                                                        Installment     Trustee      Direct
                                                                                        Pay          Pay
  Bank of America          750 Bayard           $5,000.00               $326.00          X
                           Park Drive,
                           Evansville, IN

  No late charges, fees or other monetary amounts shall be assessed based on the timing of any
  payments made by the Trustee under the provisions of the Plan, unless allowed by Order of the
  Court.

  7. SECURED CLAIMS OTHER THAN CLAIMS RELATING TO DEBTOR’S PRINCIPAL
  RESIDENCE: After confirmation of the plan, the Trustee will pay to the holder of each allowed secured
  claim the equal monthly amount in column(a)(6) or (b)(7) based upon the amount of the claim [(Para. 7(a),
  column (4)] or value offer [(Para. 7(b), column (5)] with interest at the rate stated in column (a)(5) or (b)(6).

  (a) Secured Claims To Which 11 U.S.C. 506 Valuation Is Not Applicable:
       (1)           (2)         (3)           (4)            (5)         (6)                           (7)
     Creditor     Collateral  Purchase      Estimated       Interest     Equal                       Adequate
                                Date      Claim Amount       Rate      Monthly                      Protection
                                                                       Amount                        Amount
                                                                                                  (1% of allowed
                                                                                                  secured claim)



  Additional plan offer, if any, as relates to above claim(s): None
  _____________________________________________________________________________________
  (b) Secured Claims to Which 11 U.S.C. 506 Valuation is Applicable:
     (1)             (2)              (3)           (4)           (5)    (6)      (7)       (8)
   Creditor       Collateral       Purchase      Scheduled       Value Interest Equal   Adequate
                                     Date          Debt                 Rate    Monthly Protection
                                                                                Amount   Amount
                                                                                          (1% of
                                                                                         allowed
                                                                                         secured
                                                                                          claim)



  Additional plan offer, if any, as relates to above claim(s): NA

  (c) Curing Defaults and/or Maintaining Payments: Trustee shall pay allowed claim for arrearage, and
  debtor shall pay regular post-petition contract payments directly to the creditor:
       Creditor             Collateral/Type of Debt           Estimated Arrears      Interest Rate (if any)



  (d) Surrendered/Abandoned Collateral: The debtor intends to surrender, and, upon confirmation, the
  Chapter 13 estate abandons any interest in the following collateral:

           Creditor               Collateral Surrendered/Abandoned                Scheduled Value of Property




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  8. SECURED TAX CLAIMS AND 11 U.S.C. 507 PRIORITY CLAIMS: All allowed secured tax
  obligations shall be paid in full by the Trustee, inclusive of statutory interest thereon (whether or not an interest
  factor is expressly offered by plan terms). All allowed priority claims shall be paid in full by the Trustee,
  exclusive of interest, unless the creditor agrees otherwise:
                                Type of Priority or               Scheduled Debt                 Treatment
        Creditor
                                  Secured Claim




  9. NON-PRIORITY UNSECURED CLAIMS:
      (a) Separately Classified or Long-term Debts:
      Creditor            Basis for           Treatment                      Amount              Interest (if any)
                        Classification

       (b) General Unsecured Claims:
       0% Pro rata distribution from any remaining funds; or ______________Other:

  10. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: All executory contracts and unexpired
  leases are REJECTED, except the following, which are assumed:
               Creditor                   Property Description  Treatment
  None

  11. AVOIDANCE OF LIENS: Debtor will file a separate motion or adversary proceeding to avoid the
  following non-purchase money security interests, judicial liens, wholly unsecured mortgages or other liens that
  impair exemptions:
              Creditor                Collateral/Property Description         Amount of Lien to be Avoide
  Alstadt Plumbing                  Judgment liens on residential           $2,946.00
                                    real estate
  Schroeder’s Inc.                                                          $1,141.00


  12. LIEN RETENTION: With respect to each allowed secured claim provided for by the plan, the holder of
  such claim shall retain its lien securing such claim until the earlier of a) the payment of the underlying debt
  determined under non-bankruptcy law or b) a discharge order being entered under 11 U.S.C.1328.

  13. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as expressly
  retained by the plan or confirmation order, the property of the estate shall revest in the debtor upon
  confirmation of the debtor’s plan, subject to the rights of the Trustee, if any, to assert claim to any additional
  property of the estate acquired by the debtor post-petition pursuant to operation of 11 U.S.C. 1306.

  14. MISCELLANEOUS PROVISIONS:

  Secured creditors shall receive only adequate protection payments until administrative claims are paid
  in full.

  Date: March 26, 2014.                                   /s/ Vincent Terry
                                                          Debtor
                                                          ___________________________________________
                                                          /s/ Kevin S Kinkade
                                                          Debtor’s Attorney




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